Case 8:03-cv-00326-JDW-MAP Document 147 Filed 02/10/06 Page 1 of 3 PageID 539




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DOUGLAS S. CARTER

               Plaintiff,                           CASE NO.: 8:03-CV-326-T-27-MAP

vs.

DIAMONDBACK GOLF CLUB, INC.

            Defendant.
________________________________/

                       DEFENDANT'S PROPOSED VERDICT FORM

         Pursuant to Rule 49 of the Federal Rules of Civil Procedure, Plaintiff

requests that the following Verdict Sheet (Special Interrogatories to the Jury)

attached hereto be given to the jury to answer in the course of its deliberations.

         1.    Has Douglas Carter met his burden and proved by a preponderance of the

evidence that religion was a motivating factor in the decision of Diamondback Golf Club, Inc. to

terminate the plaintiff?

               _________     YES

               _________     NO

         2.    If your answer to Number 1 above is "NO" then your finding is for Diamondback

Golf Club, Inc. and you should sign and date the form in the spaces below.

         3.    If your answer to Number 1 above is "YES" then you must proceed to Number 4

below.

         4.    Has Diamondback Golf Club, Inc. proved by a preponderance of the evidence that

the Plaintiff would have been discharged from employment for other reasons even in the absence
Case 8:03-cv-00326-JDW-MAP Document 147 Filed 02/10/06 Page 2 of 3 PageID 540




of consideration of the Plaintiff's religion?

               _________       YES

               _________       NO

       5.      If your answer to Number 4 above is "YES" then your finding is for

Diamondback Golf Club, Inc. and you should sign and date the form in the spaces below.

       6.      If your answer to Number 4 above is "NO" then go to Number 7 below.

       7.      Has Douglas Carter proved by a preponderance of the evidence that he suffered

damages as a result of the decision of Diamondback Golf Club, Inc. to terminate the plaintiff?

               _________       YES

               _________       NO

       8.      If your answer to Number 7 above is "NO" then your finding is for the defendant

and you should sign and date the form in the spaces below.

       9.      If your answer to Number 7 above is "YES" then go to Number 10 below.

       10.     DAMAGES CALCULATIONS:

       Note: Before you can calculate damages you must have answered "YES" to Number 1

above, "NO" to Number 4 above and "YES" to Number 7 above. If that is not correct, please

review your instructions above. Please note that you may only include calculations for damages

for the kinds of damages indicated below.

               PLEASE PRINT LEGIBLY.

       A.      LOST WAGES: Has the plaintiff proved by a preponderance of the evidence that

he lost wages as a proximate result of his termination?

               _________       YES

               _________       NO.
Case 8:03-cv-00326-JDW-MAP Document 147 Filed 02/10/06 Page 3 of 3 PageID 541




       If your answer to this question is "NO" then you should write zero in the space below. If

your answer is "YES" then you should fill in the amount in the space below.

                                                                   $____________________

       B.      COMPENSATORY DAMAGES. Has the plaintiff proved by a preponderance of

the evidence that he suffered injuries for which he is entitled to compensatory damages as a

proximate result of his termination?

               _________      YES

               _________      NO

       If your answer to this question is "NO" then you should write zero in the space below. If

your answer is "YES" then you should fill in the amount in the space below.

                                                                   $____________________

      The above is our unanimous verdict and our unanimous answers to the
special interrogatories.

DATED THIS ______ DAY OF FEBRUARY, 2006.

________________________________________
FOREPERSON
